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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
                Plaintiff,                            )
                                                      )
v.                                                    )       CASE NO. 1:22-cr-00338
                                                      )
LESLIE GRAY,                                          )       JUDGE DABNEY L. FRIEDRICH
                                                      )
                Defendant.                            )
                                                      )


ORDER GRANTING MOTION FOR ADMISSION OF ATTORNEY DENNIS O’BRIEN
                   TO APPEAR PRO HAC VICE

         Having reviewed the Motion For Admission Of Attorney Dennis O’Brien to Appear Pro

 Hac Vice, the Court finds that the motion should be GRANTED.

         IT IS THEREFORE ORDERED that Dennis O’Brien is admitted to practice before this Court

 for the limited purpose of appearing in this case as attorney for Defendant Leslie Gray.

         IT IS SO ORDERED this                day of May, 2023.




                                                          Dabney L. Friedrich
                                                          United States District Judge
